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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.: 1:19cv20714

 MARNEY FLORIN,


        Plaintiff,

 v.                                                          COMPLAINT

 SOURCE RECEIVABLES MANAGEMENT, LLC,
 and
 SPRINT CORPORATION

        Defendants.

 _______________________________/

                                          COMPLAINT


        Plaintiff Marney Florin (“Plaintiff”), seeks redress for the unlawful conduct of

 Defendants, SOURCE RECEIVABLES MANAGEMENT, LLC (“Source”) and SPRINT

 CORPORTION (“Sprint”) (collectively “Defendants”), to wit, violation of 15 U.S.C. § 1692 et

 seq., the Fair Debt Collection Practices Act (“FDCPA”) and Fla. Stat §559.72 et seq., the Florida

 Consumer Collection Practices Act (“FCCPA”) and in support thereof, Plaintiff states the

 following:

                                       INTRODUCTION

        1.      The FDCPA “is a consumer protection statute that ‘imposes open-ended

 prohibitions on, inter alia, false, deceptive, or unfair’” debt-collection practices. Crawford v.

 LVNV Funding, LLC, 758 F.3d 1254, 1257 (11th Cir. 2014) (quoting Jerman v. Carlisle,

 McNellie, Rini, Kramer & Ulrich LPA, 559 U.S. 573, 587 (2010)).



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        2.      “Congress enacted the FDCPA after noting abundant evidence of the use of

 abusive, deceptive, and unfair debt collection practices by many debt collectors.” Brown v. Card

 Serv. Ctr., 464 F.3d 450 (3rd Cir. 2006) (internal quotations omitted); see, e.g., Id. at 453 (quoting

 15 U.S.C. §1692(a)) (“Abusive debt collection practices contribute to the number of personal

 bankruptcies, to marital instability, to the loss of jobs, and to invasions of individual privacy.”).


        3.      As set forth in more detail below, Defendants have attempted to collect a debt that

 was not owed by Plaintiff, in violation of §1692e and §1692f of the FDCPA and §559.72 of the

 FCCPA. Accordingly, Plaintiff seeks statutory damages under the FDCPA and FCCPA.

                                  JURISDICTION AND VENUE

        4.      Jurisdiction of this Court arises under 15 U.S.C. §1692k(d), 28 U.S.C §1331,

 §1367 and 28 U.S.C §1337.


        5.      Venue in this District is proper because Plaintiff resides here, Defendants transact

 business here, and the complained of conduct occurred within the venue.

                                       DEMAND FOR JURY TRIAL
        6.      Plaintiff is entitled to, and hereby respectfully demands, a trial by jury on all

 counts alleged and on any issues so triable. See Sibley v. Fulton DeKalb Collection Service, 677

 F.2d 830 (11th Cir.1982) (wherein the Eleventh Circuit held that, “a plaintiff, upon timely

 demand, is entitled to a trial by jury in a claim for damages under the FDCPA.”).

                                                  PARTIES

        7.      Plaintiff is a natural person, and a citizen of the State of Florida, residing in

 Miami-Dade County, Florida.

       8.       Plaintiff is a “consumer” within the meaning of the FDCPA. See 15 U.S.C
 §1692a.


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        9.      Source is a North Carolina limited liability company, with its principal place of

 business located in Greensboro, North Carolina.

        10.     Source engages in interstate commerce by regularly using telephone and mail in a

 business whose principal purpose is the collection of debts.

        11.     At all times material hereto, Source was acting as a debt collector in respect to the

 collection of Plaintiff’s alleged debts.

        12.     Sprint is a Kansas corporation, with its principle place of business located in

 Overland Park, Kansas.

                                        FACTUAL ALLEGATIONS
        13.     The debt at issue (the “Consumer Debt”) is a financial obligation Plaintiff

 allegedly incurred, primarily for personal, family, or household purposes.

        14.     The Consumer Debt is a “debt” governed by the FDCPA and FCCPA. See 15

 U.S.C §1692a(5).

        15.     On a date better known by Defendants, Defendants began attempting collect the

 Consumer Debt from Plaintiff.

        16.     On or about February 14, 2019 Source mailed a collection letter to Plaintiff

 seeking to recover a consumer debt allegedly owed to Sprint. See Exhibit A (the “Collection

 Letter”).

        17.     The Collection Letter is addressed to a “Marney Florin A Stephen.”

        18.     Plaintiff is not “Marney Florin A Stephen.”

        19.     Plaintiff has never had an account with Sprint.

        20.     Plaintiff does not owe a debt to Sprint.

        21.     Sprint had prior knowledge that Plaintiff did not owe the Consumer Debt because,

 inter alia, the account was initially placed with another debt collection firm, D.A.S.I., INC.

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           22.     Late last year, D.A.S.I., INC., previously attempted to collect the same debt from

 Plaintiff.

           23.     D.A.S.I., INC., was informed by Plaintiff that the consumer debt was disputed,

 and that it was not a debt incurred or owed by Plaintiff.

           24.     The debt was also being reported on Plaintiff’s credit report.

           25.     Plaintiff even provided D.A.S.I., INC., with a police report documenting that the

 Sprint account was not that of Plaintiff.

           26.     After filing suit against D.A.S.I., INC. for violations of the FDCPA, Sprint

 removed the account from Plaintiff’s credit report.

           27.     D.A.S.I., INC. ultimately conceded that they were collecting the Consumer Debt

 from the wrong person and conveyed this information to Sprint and returned the account to

 Sprint.

           28.     Even after Plaintiff proved that the debt was not hers, and Sprint being fully

 aware of such, Sprint nonetheless assigned the debt to Source for further collections against

 Plaintiff.

           29.     Any potential bona fide error defense which relies upon Defendant’s mistaken

 interpretation of the legal duties imposed upon them by the FDCPA would fail as a matter of

 law. Jerman v. Carlisle, McNellie, Rini, Kramer & Ulrich, L.P.A., 130 S.Ct. 1605 (2010).

                                            COUNT I.
              VIOLATION OF 15 U.S.C. § 1692e and § 1692e(2)(a), § 1692e(8) and § 1692e(10)

           30.     Plaintiff incorporates the preceding Factual Allegations.

           31.     Source violated § 1692e and § 1692e(2)(a), § 1692e(8) and § 1692e(10) of the

 FDCPA by attempting to collect a debt that was not owed by Plaintiff.




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                                         COUNT II.
                           VIOLATION OF 15 U.S.C. § 1692f and §1692f(1)

        32.     Plaintiff incorporates the preceding Factual Allegations.

        33.     Source violated § 1692f and § 1692f(1) of the FDCPA by attempting to collect a

 debt that was not owed by Plaintiff.

                                             COUNT III.
                                  VIOLATION OF THE FCCPA
        34.     Plaintiff incorporates the preceding Factual Allegations.

        35.     Source and Sprint violated Fla. Stat. §559.72(9) by knowingly making false

 assertions regarding Plaintiff’s legal rights/status with regards to the Consumer Debt.

        36.     Sprint violated §559.72(6) by disclosing information concerning the existence of a

 debt known to be reasonably disputed by the debtor without disclosing that fact.

        37.     Sprint violated §559.72(9) by claiming, attempting, or threatening to enforce a debt

 when such person knows that the debt is not legitimate, or assert the existence of some other legal

 right when such person knows that the right does not exist.

        WHEREFORE, Plaintiff, request that the Court enter judgment in favor of Plaintiff for:


        (a)     Statutory and actual damages, as provided under 15 U.S.C. §1692k, for the FDCPA
                violations committed by Source in attempting to collect the Consumer Debt.

        (b)     Statutory and actual damages, as provided under Fla. Stat. §559.77(2), for the
                FCCPA violations committed by Defendants in attempting to collect the Consumer
                Debt from Plaintiff.

        (c)     An injunction prohibiting Defendants from engaging in further collection activities
                directed at Plaintiff that are in violation of the FCCPA;

        (d)     Costs and reasonable attorneys’ fees as provided by both 15 U.S.C. §1692k and
                Fla. Stat. §559.77(2); and

        (e)     Any other relief that this Court deems appropriate and just under the circumstances.



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       DATED: February 24, 2019

                                        Respectfully Submitted,

                                         /s/ Jibrael S. Hindi                 .
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